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Counsel for Scott Ellington and Isaac Leventon

                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
  In re:
                                                          Chapter 11
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                Reorganized Debtor.                       Case No. 19-34054-sgj11
  MARC S. KIRSCHNER, AS LITIGATION TRUSTEE
  OF THE LITIGATION SUB-TRUST,
                Plaintiff,
           v.
  JAMES D. DONDERO; MARK A. OKADA; SCOTT
  ELLINGTON; ISAAC LEVENTON; GRANT JAMES
  SCOTT III; FRANK WATERHOUSE; STRAND
  ADVISORS, INC.; NEXPOINT ADVISORS, L.P.;
  HIGHLAND CAPITAL MANAGEMENT FUND
  ADVISORS, L.P.; DUGABOY INVESTMENT TRUST
  AND NANCY DONDERO, AS TRUSTEE OF
  DUGABOY INVESTMENT TRUST; GET GOOD
  TRUST AND GRANT JAMES SCOTT III, AS
  TRUSTEE OF GET GOOD TRUST; HUNTER
  MOUNTAIN INVESTMENT TRUST; MARK & Adv. Pro. No. 21-03076-sgj
  PAMELA OKADA FAMILY TRUST – EXEMPT
  TRUST #1 AND LAWRENCE TONOMURA AS
  TRUSTEE OF MARK & PAMELA OKADA FAMILY
  TRUST – EXEMPT TRUST #1; MARK & PAMELA
  OKADA FAMILY TRUST – EXEMPT TRUST #2
  AND LAWRENCE TONOMURA IN HIS CAPACITY
  AS TRUSTEE OF MARK & PAMELA OKADA
  FAMILY TRUST – EXEMPT TRUST #2; CLO
  HOLDCO, LTD.; CHARITABLE DAF HOLDCO,
  LTD.; CHARITABLE DAF FUND, LP.; HIGHLAND
  DALLAS FOUNDATION; RAND PE FUND I, LP,
  SERIES 1; MASSAND CAPITAL, LLC; MASSAND
  CAPITAL, INC.; SAS ASSET RECOVERY, LTD.;
  AND CPCM, LLC,
                Defendants.
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                NOTICE OF ISSUANCE OF SUBPOENA TO
       PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
 PERMIT INSPECTION OF PREMISES TO BEECHER CARLSON HOLDINGS, INC.


       PLEASE TAKE NOTICE that Defendants, Scott Ellington and Isaac Leventon, by and

through their attorneys of record, intend to serve the Subpoena attached hereto as Exhibit “A,”

pursuant to Rule 45 of the Federal Rules of Civil Procedure, as made applicable by Rule 9016 of

the Federal Rules of Bankruptcy Procedure, on third-party, Beecher Carlson Holdings, Inc.




 Dated: August 10, 2022

 By: /s/ Michelle Hartmann                         Debra A. Dandeneau
 Michelle Hartmann                                 Blaire Cahn
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 Email: michelle.hartmann@bakermckenzie.com        (Admitted pro hac vice)

                                                   Counsel for Scott Ellington and Isaac Leventon




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                               CERTIFICATE OF SERVICE

       I certify that on August 10, 2022, a true and correct copy of the above and foregoing

document was served via electronic email through the Court’s CM/ECF system to the parties that

have requested or consented to such service.

                                                    /s/ Michelle Hartmann
                                                    Michelle Hartman




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                                 EXHIBIT “A”




                                                                                      1
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
                                   Northern District of _________________________________________
  _________________________________________              Texas
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
In re __________________________________________
                                    Debtor
                                                                                              19-34054-sgj
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
Mark S. Kirschner, as Litigation Trustee of the Litigation                                   11
                                                                                     Chapter ___________
Sub-Trust,
_________________________________________
                                    Plaintiff
                          v.                                                                        21-03076-sgj
                                                                                     Adv. Proc. No. ________________
James D. Dondero, et al.,
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
       Beecher Carlson Holdings, Inc
  To: ________________________________________________________________________________________
                                     (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See Attachment A.

  PLACE BEECHER CARLSON HOLDINGS, INC.                                                                       DATE AND TIME
             300 NORTH BEACH STREET                                                                                                  September 9, 2022
             DAYTONA BEACH, FL 32114, USA


      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        August 10, 2022
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR       /s/ Michelle Hartmann
                                    ________________________                                ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature
                                                                                             Michelle Hartmann
  The name, address, email address, and telephone number of the attorney representing (name of party)
  See Exhibit 1 attached hereto
  ____________________________          , who issues or requests this subpoena, are:
  See Exhibit 1 attached hereto
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                                Attachment A


                                            DEFINITIONS

The following definitions shall apply herein:

   1. The terms “all,” “any,” and “each” shall each be construed as encompassing any and all. The
      connectives “and” and “or” shall be construed either disjunctively or conjunctively as necessary
      to bring within the scope of the discovery request all responses that might otherwise be construed
      to be outside of its scope. The use of the singular form of any word includes the plural and vice
      versa.
   2. The term “document” is defined to be synonymous in meaning and equal scope to the usage of
      the term “documents or electronically stored information” in Fed. R. Civ. P. 34(a)(1)(A). A draft
      or non-identical copy is a separate document within the meaning of this term. “Document” shall
      be construed as a document and all attachments thereto.

   3. The terms “including” and “includes” are used to provide examples of certain types of
      information and should not be construed as limiting a request in any way. The term “including”
      shall be construed as if followed by the phrase “but not limited to.”

   4. “Claimant Trust” shall have the meaning ascribed to it in the Fifth Amended Plan of
      Reorganization of Highland Capital Management, L.P. (as Modified), dated January 22, 2021
      [Dkt. No. 1808]

   5. “Claimant Trust Parties” means the Claimant Trust and any of its respective trustees, directors,
      oversight board members, professionals, attorneys, and agents.

   6. “Highland Bankruptcy” means In re Highland Capital Management, L.P., No. 19-34054-sgj11
      (Bankr. N.D. Tex.), pending in the Bankruptcy Court for the Northern District of Texas.

   7. “Highland Parties” means Highland Capital Management, L.P., the Claimant Trust Parties, the
      Litigation Sub-Trust Parties, Highland CDO Opportunity Master Fund, L.P., Highland Financial
      Partners, L.P., and Highland Special Opportunities Holding Company.

   8. “Insurance Policy” means that certain Legal Liability Insurance Policy, with a commencement
      date of August 1, 2017, by and between Sentinel Reinsurance, Ltd., as insurer, and Highland
      CDO Opportunity Master Fund, L.P., Highland CDO Holding Company, and Highland Special
      Opportunities Holdings Company, collectively, as insureds.

   9. “Litigation Sub-Trust” shall have the meaning ascribed to it in the Fifth Amended Plan of
      Reorganization of Highland Capital Management, L.P. (as Modified), dated January 22, 2021
      [Dkt. No. 1808]
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10. “Litigation Sub-Trust Parties” means the Litigation Sub-Trust and any of its respective trustees,
    directors, oversight board members, professionals, attorneys, and agents.

11. “Sentinel” means Sentinel Reinsurance, Ltd. and its predecessors, successors, parents,
    subsidiaries, affiliates, managers, directors, board members, shareholders, beneficiaries, ultimate
    beneficial owners, agents, and counsel.

12. “UBS” means UBS AG London Branch and UBS Securities LLC, and their counsel representing
    them with respect to any matter related to or arising out of the Highland Bankruptcy or the UBS
    Actions, including, but not limited to Latham & Watkins LLP (including counsel Andrew
    Clubok) and any counsel representing them with respect to actual or potential claims against
    Sentinel Reinsurance, Ltd.

13. “UBS Actions” means any actions or proceedings related to Sentinel, including but not limited to
    the adversary proceeding captioned as UBS Securities LLC and UBS AG London Branch v.
    Highland Capital Management, L.P., Adv. Pro. No. 21-03020-sgj, in the United States
    Bankruptcy Court for the Northern District of Texas and the Index No. 650097/2009 filed in the
    Supreme Court of the State of New York, County of New York.

                                 REQUESTED DOCUMENTS

1. All documents produced to UBS in relation to Sentinel, including, but not limited to, all
   documents produced to UBS in any UBS Action.

2. All documents produced to any Highland Party in relation to Sentinel, including, but not limited
   to, all documents produced to any Highland Party in any UBS Action.

3. For each deposition taken of any UBS Action, a copy of each such deposition transcript and the
   exhibits from such deposition.

4. All documents related to UBS’s receipt, acceptance, delivery, seizure, distribution, or
   conveyance from any third-party of any cash, assets, or other consideration which is, was, was
   derived or related to any assets: (a) that were the subject of the Insurance Policy or (b) in which
   Sentinel had a direct, indirect, or economic right or interest.




                                                2
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                                             Exhibit 1


        The name, address, email address, and telephone number of the attorneys representing the
parties who issue or request this subpoena are:



                                      By: /s/ Michelle Hartmann
                                          Michelle Hartmann
                                          State Bar No. 24032402
                                          Baker & McKenzie LLP
                                          1900 North Pearl, Suite 1500
                                          Dallas, TX 75201
                                          Telephone: 214-978-3000
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                                           Counsel to Scott Ellington and Isaac Leventon




                                      By: /s/ Deborah R. Deitsch-Perez
                                         Deborah R. Deitsch-Perez
                                         State Bar No. 24036072
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                                           Counsel to NexPoint Advisors, L.P., and Highland
                                           Capital Management Fund Advisors, L.P.
